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15
16                                UNITED STATES DISTRICT COURT
17                           CENTRAL DISTRICT OF CALIFORNIA
18
19    JAMES ANTHONY BRYANT,                           Case No. 8:16-CV-02145-JLS-DFM
20                   Plaintiff,                       NOTICE OF SETTLEMENT
                                                      PURSUANT TO LOCAL
21          v.                                        RULE 16-15.7
22    A-CHECK AMERICA, INC.
      d/b/a A-CHECK GLOBAL,
23
                     Defendant.
24
25
26
27
28


                        NOTICE OF SETTLEMENT / CASE NO. 8:16-CV-02145-JLS-DFM
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 1    TO THE CLERK OF THE COURT AND TO ALL PARTIES AND THEIR
 2    COUNSEL OF RECORD:
 3           PLEASE TAKE NOTICE that pursuant to Local Rule 16-15.7, Plaintiff James
 4    Anthony Bryant and Defendant A-Check America, Inc. d/b/a A-Check Global have
 5    settled this matter and will file a Joint Dismissal With Prejudice Pursuant To Federal
 6    Rule of Civil Procedure 41 no later than August 31, 2017.
 7
 8    DATED: July 21, 2017                       TATAR LAW FIRM, APC
 9
10                                               By: /s/ Stephanie R. Tatar
                                                     Stephanie R. Tatar
11                                                  Attorneys for Plaintiff
                                                    JAMES ANTHONY BRYANT
12
13
      DATED: July 21, 2017                       SEYFARTH SHAW LLP
14
15
                                                 By: /s/ Selyn Hong
16                                                   Pamela Q. Devata (pro hac vice
17                                                   forthcoming)
                                                     Timothy L. Hix
18                                                   Selyn Hong
                                                    Attorneys for Defendant
19                                                  A-CHECK AMERICA, INC., d/b/a
                                                    A-CHECK GLOBAL
20
21                 ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4(a)(2)(i)
22           Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Selyn Hong, attest that the contents of
23    this document are acceptable to Stephanie R. Tatar, counsel for Plaintiff JAMES
24    ANTHONY BRYANT, and that Ms. Tatar has authorized the filing of this Notice.
25           Executed this 21st day of July 2017 in San Francisco, California.
26                                                  /s/ Selyn Hong
27
28

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                          NOTICE OF SETTLEMENT / CASE NO. 8:16-CV-02145-JLS-DFM
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